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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA             )
                                     )    DOCKET NO.: 20-cr-40036-TSH
                 v.                  )
                                     )
VINCENT KIEJZO                       )
                                     )


                 DEFENDANT’S MOTION TO SUPPRESS EVIDENCE


                                  EXHIBIT 12:

                           Application for Search Warrant
                      20-mj-00044-MJF (N.D. Fla. May 6, 2020)
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRIC'T OF FLORIDA
                             PANAMA CI]'Y DIVISION

 IN TIIE MATTER OF THE SEARCH OF                         Case No.   5   :20-mj-44-MJF
 4068 FAIRBANKS DRIVE, CHIPLEY,
 FLORIDA 32428                                           Filed Under Seal


                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT

      I,   Lawrence P. Borghini,      a    Special Agent with the Federal Bureau of

Investigation ("FBI") being duly swom, depose and state as follows:

                                   INTRODUCTION

      1.      I have been employed        as a Special Agent   ("SA") of FBI, since April

14, 1996, and am currently assigned to the Jacksonville Division, Panama City

Resident Agency. While employed by the FBI, I have investigated federal criminal

violations related to high technology or cybercrime, child exploitation, and child

poraography. I have gained experience through training provided by the FBI and

everyday work relating to conducting these types of investigations. I have received

specialized training in the area of child pornography and child exploitation, and have

had the opportunity to observe and review numerous examples of child pomography

(as defined   in   18 U.S.C. q 2256) in   all forms of media including computer media.

Consequently, I am familiar with the ways in which these individuals/organizations
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operate their illegal enterprise, including, but not limited to, their use of computers,

cellular telephones, media storage and current technology                to   conduct their

transactlons.

      2.        Within the scope of my duties,       I   have been assigned investigations

involving individuals and criminal enterprises engaged in child pornography and

child exploitation.       I   have personally participated   in court authorized wiretaps,
physical surveillances, the execution         of   search warrants, arrest warants and

interviews of individuals engaged in child pornography and child exploitation. I

have also been involved in an number ofundercover operations specifically targeting

individuals engaged in child pomography and child exploitation. Moreover, I am a

federal law enforcement officer who is engaged in enforcing the criminal laws,

including 18 U.S.C. $ 2252A(a)(2) and (a)(5), and I am authorized by law to request

a search warrant.

      3.        This Affidavit is submitted in support of an application under Rule 41

of the Federal Rules of Criminal Procedure for a search warrant for the locations

specifically described in Attachment          A of this Affidavit,    including the entire

property located     at   4068 Fairbanks Drive, Chipiey,, Florida, (the "SUBJECT

PREMISES"), the content of electronic storage devices located therein, and any

person located at the SUBJECT PREMISES, for contraband and evidence, fruits,

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and instrumentalities of violations   of 18 U.S.C. $ 2252A(a)(2) and (a)(5), which

items are more specifically described in Attachment B of this Affidavit.

      4.     The statements contained in this affidavit are based           in paft on
information provided by U.S. federal law enforcement agents; written reports about

this and other investigations that I have received, directly or indirectly, from other

law enforcement agents, including foreign law enforcement agencies, information

gathered from the service of administrative subpoenas; the results of physical and

electronic surveillance conducted        by law enforcement        agents; independent

investigation and analysis    by law     enforcement agents/analysts and computer

forensic professionals; and my experience, training and background as a Special

Agent. Since this Affidavit is being submitted for the limited purpose of securing     a

search warrant, I have not included each and every fact known to me conceming this

investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to believe that contraband and evidence, fruits, and instrumentalities

of violations of 18 U.S.C. g 2252(a)(2) and (b)(1) (receipt or distribution of a visual

depiction   of a minor engaged      tn   sexually explicit conduct) and 18 U.S.C.

$ 2252A(a)(5)(B) and (b)(2) (possession         of and access with intent to view child

pomography) are presently located at the SUBJECT PREMISES.



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                          STATUTORY AUTHORITY

      5.     As noted above, this investigation concerns alleged violations of the

following:

             a     18 U.S.C. $ 2252(a)(2) and (b)(1) prohibit any person from

      knowingly receiving or distributing, or attempting or conspiring to receive or

      distribute, any visual depiction using any means or facility of interstate or

      foreign commerce:, or that has been mailed or shipped or transported in or

      affecting interstate or foreign cofllmerce, or which contains materials which

      have been mailed or so shipped or transpofted, by any means including by

      computer, or knowingly reproducing any visual depiction for distribution

      using any means or facility     of   interstate   or foreign commerce, or in   or

      affecting interstate   or foreign commerce or through the mails, if           the

      production of such visual depiction involved the use of a minor engaging in

      sexually explicit conduct and such visual depiction is of such conduct.

             b.    18 U.S.C. $2252A(a)(5)(B) and (b)(2) prohibit a person from

      knowingly possessing or knowingly accessing with intent             to   view, or

      attempting or conspiring to do so, any material that contains an image of child

     pomography, as defined     in   18 U.S.C. $ 2256(8), that has been mailed, or

     shipped or transpofied using any means or facility        of interstate or foreign
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        commerce, or in or affecting interstate or foreign commerce, by any means,

        including by computer, or that was produced using materials that have been

        mailed or shipped or transported in or affecting interstate or foreign commerce

        by any means, including by computer.

                                   DEFINITIONS

        6.     The following definitions apply to this Affidavit and Attachment B:

         a.    "Bulletin Board" means an Intemet-based website that is either secured

(accessible with a password) or unsecured, and provides.members with the ability to

view postings by other members and make postings themselves. Postings can

contain text messages, still images, video images, or web addresses that direct other

members to specific content the poster wishes. Bulletin boards are also referred to

as   "intemet forums" or "message boards." A "post" or "posting" is a single message

posted by a user. Users of a bulletin board may post messages in reply to a post.        A

message "thread," often labeled a "topic," refers to a iinked series ofposts and reply

messages. Message threads or topics often contain    a   title, which is generally selected

by the user who posted the first message of the thread. Bulletin boards often also

provide the ability for members to communicate on a one-to-one basis through

"private messages." Private messages are similar to e-mail messages that are sent



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between two members of a bulletin board. They are accessible only by the users

who sent/received such a message, or by the bulletin board administrator.

       b.    "Chat," as used herein, refers to any kind of text communication over

the Internet that is transmitted in real-time from sender to receiver. Chat messages

are generaily short in order to enabie other participants to respond quickly and in a

format that resembles an oral conversation. This feature distinguishes chatting from

other text-based online communications such as Intemet forums and email.

       c     "Chat room," as used herein, refers to the ability of individuals to meet

in one location on the Intemet in order to communicate electronically in real-time to

other individuals. Individuals may also have the ability to transmit electronic files to

other individuals within the chat room.

       d.    "Child erotica," as used herein, means materiais or items that         are

sexuaily arousing to persons having a sexual interest in minors but that are not

necessarily obscene or do not necessarily depict minors engaging in sexually explicit

conduct.

       c     "Child pornography," as defined in 18 U.S.C. $ 2256(8), is any visual

depiction, including any photograph, film, video, picture,, or computer or computer-

generated image or picture, whether made or produced by electronic, rnechanical or

other means, of sexually explicit conduct, where (a) the production of the visual
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depiction involved the use ofa minor engaged in sexually explicit conduct, (b) the

visual depiction is a digital image, computer image, or computer-generated image

that is, or is indistinguishable from, that of a minor engaged in sexually explicit

conduct, or (c) the visual depiction has been created, adapted, or modified to appear

that an identifiable minor is engaged in sexually explicit conduct.

       f.     "Cloud storage," as used herein, is a form of digital data storage in

which the digital data is stored on remote servers hosted by   a   third party (as opposed

to, for example, on a user's computer or other local storage device) and is made

available to users over a network, typically the Intemet.

       g.     "Computer," as used herein, refers to "an electronic, magnetic, optical,

electrochemical, or other high speed data processing device performing logical or

storage functions, and includes any data storage facility or communications facility

directly related to or operating in conjunction with such device" and includes

smartphones,, other mobile phones, and other mobile         devices. See 18 U.S.C.      S


1030(e)(1).

       h.     "Computer hardware," as used herein,, consists of all equipment that

can receive, capture, collect, analyze, create, display, convert, store, conceal, or

transmit electronic, magnetic, or similar computer impulses or data. Computer

hardware includes any data-processing devices (including central processing units,

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internal and peripheral storage devices such as fixed disks, extemal hard drives,

"thumb," 'Jump," or "flash" drives, which are small devices that are plugged into      a


port on the computer, and other memory storage devices); peripheral input/output

devices (including keyboards, printers, video display monitors, and related

communications devices such as cables and connections); as well as any devices,

mechanisms, or parts that can be used to restrict access       to computer hardware
(including physical keys and locks).

        I     "Computer passwords and data security devices," as used herein,

consist of information or items designed to restrict access to or hide computer

software, documentation, or data. Data security devices may consist of hardware,

software, or other programming code.         A   password (a string   of   alpha-numeric

characters) usually operates what might be termed         a digital key to "unlock"

particular data security devices. Data security hardware may include encryption

devices, chips, and circuit boards. Data security software may include programming

code that creates "test" keys or "hot" keys, which perform certain pre-set security

functions when touched. Data security software or code may also encrypt, compress,

hide, or "booby-trap" protected data to make it inaccessible or unusable, as well as

reverse the process to restore it.



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       j.     The "Domain Name System" or "DNS" is system that translates

readable Internet domain names such as wwwjustice.gov into the numerical IP

addresses of the computer server that hosts the website.

       k.     "Encryption" is the process of conveding data into a code in order to

prevent unauthorized access to the data.

       l.     A "hidden service," also known as an "onion service," is website      or

other web service that is accessible only to users operating within the Tor anonymity

netrvork.

       tI1.   "Hyperlink" refers to an item on a web page which, when selected,

transfers the user directly to another location in a hypertext document or to some

other web page.

       n      The "lnternet" is a global network of computers and other electronic

devices that communicate with each other. Due to the structure of the Intemet,

connections between devices on the Intemet oflen cross state and intemational

borders, even when the devices communicating with each other are in the same state.

       o      "Internet Service Providers" ("ISPs"), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the

Internet. ISPs provide a range of functions for their customers including access to



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the Intemet, web hosting, email, remote storage, and co-location of computers and

other communications equipment.

       p.    An "Internet Protocol address" or "lP address," as used herein, refers

to a unique numeric or alphanumeric string used by a computer or other digital

device to access the Intemet. Every computer or device accessing the Intemet must

be assigned an IP address so that Internet traffic sent from and directed to that

computer or device may be directed properly from its source to its destination. Most

Intemet Service Providers ("ISPs") control arange ofIP addresses. IP addresses can

be "dynamic," meaning that the ISP assigns a different unique number to a computer

or device every tirne it accesses the Intemet. IP addresses might also be "static,,"     if
an ISP assigns a user's computer a particular IP address that is used each time the

computer accesses the Intemet. ISPs typically maintain logs of the subscribers to

whom IP addresses are assigned on particular dates and times.

       q.    "Minor,"   as defined   in   18 U.S.C. S   2256(l), refers to any person under

the age ofeighteen years.

       r     "Records," "documents,," and "materials," as used herein, include all

information recorded in any form, visual or aural, and by any means, whether in

handmade, photographic,, mechanical, electrical, electronic, or magnetic form.



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       S      "Remote computing service," as defined in 18 U.S.C. $ 2711(2), is the

provision to the public of computer storage or processing services by means of an

electron ic communications system.

       t      "Sexually explicit conduct," as defined in 18 U.S.C. $ 2256(2), means

actual or simulated (a) sexual intercourse, including genital-genital, oral-genital,

anal-genital, or oral-anal, whether between persons of the same or opposite sex; (b)

bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious

exhibition ofthe anus, genitals, or pubic area of any person.

       LI     A "storage medium" is any physical object upon which computer data

can bc rccorded. Exan.rples include hard disks, RAM, floppy disks, "thumb,"

'Jr,rnp," or "flash" drives, CD-ROMs, and other magnetic or optical media.

              The "Tor network" is a computer network available to Intemet users

that is designed specifically to facilitate anonymous communication over the

Intemet. The Tor network attempts to do this by routing Tor user communications

through a globally distributed network         of relay   computers, along a randomly

assigned path known as a    "circuit."

       w.     "URL" is an abbreviation for Uniform Resource Locator and is another

name for a web address. URLs are made of letters, numbers, and other symbols in

a standard   form. People   use them on computers by clicking a pre-prepared   link or
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typing or copying and pasting one into a web browser to make the computer fetch

and show some specific resource (usually a web page) from another computer (web

server) on the Intemet.

       x.     "Visual depiction," as defined       in l8   U.S.C. g 2256(5), includes

undeveloped   film      and videotape, data stored on computer disc or other electronic

means which is capable of conversion into a visual image, and data which is capable

of conversion into a visual image that has been transmitted by any means, whether

or not stored in   a   permanent format.

       y.     A "Website" consists of textual     pages   of information and   associated

graphic images. The textual information is stored in a specific format known as

Hyper-Text Mark-up Language (HTML) and is transmitted from web servers to

various web clients via Hyper-Text Transport Protocol (HTTP).

  BACKGROUND OF THE INVESTIGATION AND PR OBABLE CAUSE

      7.     A user of the Internet account at the SUBJECT PREMISES             has been

linked to an online community of individuals who regularly send and receive child

pomography via a hidden service website that operated on the Tor anonymity

network. The website is described below and referred to herein as the "TARGET




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WEBSITE."T There is probable cause to believe that a user of the Internet account

at the SIIBJECT PREMISES                accessed     the TARGET WEBSITE. as further

described herein.

                                      The Tor Network

       8.      The Intemet is a global network of computers and other devices.

Devices directly connected to the lnternet are uniquely identified by IP addresses,

which are used to route information between Intemet-connected devices. Generally,

when one device requests information from a second device, the requesting device

specifies its own IP address so that the responding device knows where to send its

response. On the Intemet, data transferred between devices is split into discrete

packets, each of which has two parts: a header with non-content routing and control

information, such as the packet's source and destination IP addresses; and a payload,

which generally contains user data or the content of a communication.

       9.      The website fuither described below operated on the Tor network,

which is a computer network available to Intemet users that is designed specificaliy

to facilitate anonymous communication over the Internet. The Tor network attempts



I The name of the TARGET WEBSITE is known to law enforcement. Investigation into the users
of the website remains ongoing and disclosure of the name of the website would potentially alert
active website users to the investigation, potentially provoking users to notify other users of law
enforcement action, flee, and/or destroy evidence.

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to do this by routing Tor user communications through a globally                distributed

network of relay computers, along a randomly assigned path known as a "circuit."

Because     of the way the Tor network routes communications through the relay

computers, traditional IP address-based identification techniques are not effective.

       10.      To access the Tor network, a user must install Tor software. That is

most easily done by downloading the free "Tor browser" from the Tor Project, the

private entity that maintains the Tor network, via their website                          at

www.torproject.org.2 The Tor browser is a web browser that is configured to route

a user's Intemet   traffic through the Tor network.

       1   1.   As with other Internet communications. a Tor user's communications

are split into packets containing header infbrmation and a payload, and are routed

using IP addresses. In order for a Tor user's communications to be routed through

the Tor network, a Tor user necessarily (and voluntarity) shares the user's IP address

with Tor network relay computers, which are called "nodes." This routing

information is stored in the header portion of the packet. As the packets travel

through the Tor network, each node is able to see the address information of the

previous node the communication came from and the next node the information


2
 Tor users may also choose to manually configure a web browser or other application to route
communications through the Tor network.

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should be sent   to.   Those Tor nodes are operated by volunteers    -   individuals or

entities who have donated computers or computing power to the Tor network in

order for it to operate

       12. Tor may be used to                    access open-Internet websites like

www justice.gov. Because a Tor user's communications are routed through multiple

nodes before reaching their destination, when a Tor user accesses such an Internet

website, only the IP address of the last relay computer (the "exit node"), as opposed

to the Tor user's actual IP address, appears on that website's IP address log. In

addition, the content     of a Tor user's   communications are encrypted while the

communication passes through the Tor network. That can prevent the operator of a

Tor node from observing the content (but not the routing information) ofother Tor

users' communications.

      13.    The Tor Project maintains a publicly available frequently           asked

questions (FAQ) page, accessible from its website, with information about the Tor

network. Within those FAQ, the Tor Project advises Tor users that the first Tor relay

to which a user connects can see the Tor user's actual IP address. In addition. the

FAQ also cautions Tor users that the use of the Tor network does not render a user,s

communications totally anonymous. For example,          in the Tor project,s FAe,   the



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question "So I'm totally anonyrnous       if I use Tor?"   is asked, to which the response is,

in bold text, "No."

       14.      The Tor Network also makes it possible for users to operate or access

websites that are accessibie only to users operating within the Tor network. Such

websites are called "hidden services" or "onion services." They operate in a manner

that attempts to conceal the true IP address of the computer hosting the website. Like

other websites, hidden services are hosted on computer servers that communicate

through IP addresses. However, hidden services have unique technical features that

attempt to conceal the computer server's location.

       1   5.   Unlike standard Intemet websites, a Tor-based web address                   is

comprised of a series of either 16 or 56 algorithm-generated characters, for example

"asdlk8fs9dflku7f," followed by the suffix ".onion." Ordinarily, investigators can

determine the     IP   address   of the   computer server hosting a website (such          AS


wwwjustice.gov) by simply looking it up on a publicly avaiiable Domain Name

System ("DNS")      listing. Unlike ordinary Internet websites, however, there is no

publicly available DNS listing through which one can query the IP address of                a

colnputer server that hosts a Tol hidden service. So, rvhile law enforcement agenls

can often view and access hidden services that are facilitating illegal activity, they

cannot determine the IP address of a Tor hidden service computer server via public

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lookups. Additionally, as with all Tor communications, communications between

users' computers and a Tor hidden service webserver are routed through a series          of
intermediary computers. Accordingly, neither law enforcement nor hidden-service

users can use public lookups or ordinary investigative means to determine the true

IP address   -   and therefore the location   -    of a computer server that hosts a hidden

servlce.

                          Description of TARGET WEBSITE

       16.       The TARGET WEBSITE was an online bulletin board dedicated to the

advertisement and distribution         of child        pomography    that operated    from

approximately at least September 2016to June 2019. In June of 2019, the computer

server hosting the TARGET WEBSITE, which was located outside of the lJnited

States, was seized by a foreign law enforcement agency.

      17. A review of the initial TARGET                WEBSITE page revealed it was     a


message board web page that contained a search bar, and showcased two hyperlinks

titled. "Announcelnents" and "lmporlant Inforn-ration." Located below the title u,ere

hyperlinks including those entitled "Quick Links,,, ,,Home,,, ,.Board Index,,,

"Login," and "Register." As of June 2019,the website had over 820,000 members

and over 81,000 postings.



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       18.   Upon accessing the "Announcements" hyperlink of the TARGET

WEBSITE, the following message was displayed              in   message board form,

"Welcome, Please read before registering" which was dated July        l, 2016. Upon
accessing the aforementioned hyperlink, the message read, "Welcome abusers and

abusees and those that enjoy watching. This website was created       to host videos,

photos and discussions of 18 (twinks) and younger of Hurtcore materials (videos     &

pictures) as well as discussion of such." Based on my training and experience, I

know that Hurtcore refers to violent pomography. The message continued, "PS

Please register to see all the forums, and use strong password for user profile."

      19.    Upon accessing the "Register" link of the TARGET WEBSITE, it was

revealed that users would complete         a    "Username," "Password," "Confirm

password," "Language," and "My timezone," fields, as well as a "Confirmation        of

Registration" code. Upon entering the TARGETWEBSITE, sections and forums

for posting to the website included "HURTCORE Toddlers Videos (Ages 0-5),"

"Preteen/Hebe Children Videos (Ages         6-13)," "Teens Videos (Ages 14+),"
"Toddlers Images (Ages 0-5)," "Preteen/Ilebe Children Images (Ages 6-13)," and

"Teens Images (Ages     14+)."   Based on my training and experience,     I know that
"Hebe" is a reference to a "hebephile," which is a person with a persistent sexual

interest in pubescent minor children. Another forum was named "GORE/DEATH"

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which included sub-forms for "Toddlers (Ages 0-5)," "Preteen/Hebe Chiidren (Ages

6-13)" and "Teens (Ages 14+)." An additional section of the website called "The

Team" listed the usemames of two website "Administrators" and five "Global

Moderators." The TARGET WEBSITE also contained a private message feature

that was available, allowing users to send private messages to each other.

      20.    On June 23,2016, a website administrator posted a topic entitled

"Board Rules" in the "Important Information" forum which contained the following

explanation of the website:

             Rules are simple all material must be related to Hurtcore content. What
             is Hurtcore content? It is rape, fighting, wrestling, bondage, spanking,
             pain, mutilation, gore, dead bodies, and etc. (no limits) Why does this
             place exist? There was a need and since society thinks I am worst than
             any abuser or creator of Hurtcore content, I decided to create this place
             for those who like it and want to share. Besides I am the mischievous
             god. It is up to you to make this the best Hurtcore board there is. So
             please upload whatever you can so that it can be shared.

      21. A     review   of the "Toddlers Videos,"            "PreteenlHebe Children,"

"Toddlers Images," and "Gore,{Death" forums and subforums, as well as additional

forums, within the various above sections revealed they contained numerous pages

of topics. Each topic contained   a   title, the author, the number of replies, the number

of views, and the last post. The last post section included the date and time of the

post as well as the author. Upon accessing a topic, the original post appeared at the


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top of the page, with any coresponding replies to the original post included in the

thread below   it. Typical posts appeared to contain   text, images, thumbnail previews

of images, links to extemal sites with compressed files (such as ".rar"), or replies to

prevlous posts.

      22. A review of topics within these sections revealed numerous              posts

containing images and/or videos depicting child pornography and child erotica of

prepubescent ma1es, females, toddlers,, and infants; including those depicting anal,

vaginal, and oral penetration. Additionally, these sections revealed numerous posts

containing images and/or videos depicting child pomography involving gore and

sometimes death. Examples of these are as follows:

      23.      On October 9,2016, a website user posted a topic entitled "Fuck the

newborn. Real fuck!" in the "Hurtcore/Toddlers Images/Girls" forum, that contained

nine images depicting child pomography and child erotica of a prepubescent female

infant. One of these images depicted a naked female infant lying on her back with

her legs spread apart, exposing her vagina, with a gloved adult finger inserted into

her anus. A male's penis was pressed against her vagina and the head of the penis

inserled into her mouth. A brown liquid substance, appearing to be the infant's feces

are seen smeared around her anus.



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      24.    On November 5,2016, a website user posted a topic entitled "BabyHee

lyo (one of full version)" in the "HurtCore/Toddlers Videos/Boys" forum                that

contained images depicting child pomography and torture of a prepubescent male,

who was completely naked and tied down with rope on the side of         a bath   tub. Among

other things, the images depicted an adult male defecating on the chest and urinating

in the mouth of the prepubescent maie.

                     Evidence Related to Identification of Tarset

                            That Accessed TARGET WEBSITE

      25. I    am aware that U.S. as well as foreign law enforcement agencies

investigate anonymous offenders engaging in online child sexual exploitation via

Tor hidden service websites such      as the   website(s) described herein. Those websites

are globally accessible. The websites and their users may therefore be located

anywhere in the world. Due to the anonymity provided by the Tor network, it can

be difficult or impossible to determine, at the beginning of an investigation, where

in the world a particular website or user is located. Accordingly, when a law

enforcement agency obtains evidence that such a website or website user may be

located in another country, it is common practice for that law enforcement agency

to share information with   a   law enforcement agency in the country where the website

is located or the offender appears to reside, in accordance with each country's laws.
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         26.     In August 2019, a foreign law enforcement agency (referenced herein

as   "FLA") known to the FBI and with a history of providing reliable, accurate

information in the past, notified the FBI that FLA detennined that on April 12,2019

at 10:51:20(UTC), IPaddress 104.191.59.32 "wasusedtoaccessonlinechildsexual

abuse and exploitation material" via a website that the FLA named and described as

theTARGET WEBSITE.

         27   . FLA described the website as having "an explicit focus on the
facilitation of sharing child abuse material (images, links and videos), emphasis on

BDSM, hurtcore, gore and death-related material including that of children," stated

that "[u]sers were required to create an account (usemame and password) in order

to access the majority of the material," and provided further documentation naming

the website as the TARGET WEBSITE, which the FLA referred to by its actual

nalne.

         28.     FLA is a national law enforcement agency of a country with      an

established rule    of law. There is a long history of U.S. law enforcement sharing

criminal investigative information with FLA and FLA sharing criminal investigative

information with U.S. law enforcement, across disciplines and including the

investigation of crimes against children. FLA advised U.S. law enforcement that   it

obtained that infbrmation through independent investigation that was lawfully
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authorized in FLA's country pursuant to its national laws. FLA further advised U.S

law enforcement that FLA had not interfered with, accessed, searched or seized any

data from any computer in the United States in order to obtain that IP address

information. U.S. taw enforcement personnel did not pafticipate in the investigative

work through which FLA identified the IP address information provided by FLA.

      29.    I am aware through my training and experience and consultation with

other U.S. law enforcement agents that tips provided by FLA regarding IP addresses

that FLA advised were associated with access to Tor network child exploitation-

related web and chat sites have: (1) led to the identification and arrest of a U.S.-

based child pomography producer and hands-on offender, and the identification and

rescue of multiple U.S. children subject to that offender's ongoing abuse; (2) led to

the seizure ofevidence ofchild pomography trafficking and possession; and (3) been

determined through further investigation        to be related to targets that U.S. law

enforcement investigation had independently determined were associated with child

pornography traffi cking and possession.

      30.    As described herein, the TARGET WEBSITE could not generaiiy be

accessed through the traditional   internet. Only a user who had installed the

appropriate Tor software on the user's computer could access the "TARGET

WEBSITE." Even after connecting to the Tor network, however,         a user   would have
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to find the l6-or-56-character web address of the TARGET WEBSITE in order to

access   it.   Hidden service websites on the Tor Network are not "indexed" bv search

engines-such as Google-to anywhere near the same degree as websites that

operate on the open Intemet. Accordingly,       it is much more difficult to perform     a


Google-type search of hidden service websites than        it is to search    open Intemet

websites for particular content     of interest.   Users interested   in   accessing child

exploitation material (or in advertising child exploitation and pomography websites

they operate) therefore keep, maintain and use directory sites that advertise the web

addresses ofhidden services that contain child exploitation related content. Those

directory sites also operate via the Tor network. Users utilize those directory sites

to identifu new web forums, chat sites, image galleries and file hosts pertaining to

the sexual exploitation of children. Such directory sites often identifu whether

particular sites are then operating, whether child pornography imagery may be found

there, and even what types of child pornography are accessible (i.e., boys, girls, or

"hurtcore"). They also contain clickable hyperlinks to     access those     sites. As with

other hidden service websites, a user must find the 16-or-56 character web address

for a directory website in order to access it. While it operated, the web address for

the website described herein was listed on one or more of such directory sites

adveftising hidden services dedicated to the sexual exploitation of children
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      31.    Accordingly,, based on my training and experience and the information

articulated herein, because accessing the TARGET WEBSITE required numerous

affirmative steps by the user    -   to include downloading Tor software, accessing the

Tor network, finding the web address for TARGET WEBSITE, and then connecting

to TARGET WEBSITE via Tor            -   it is extremely unlikely that any user could simply

stumble upon TARGET WEBSITE without understanding its purpose and content.

      32.    Accordingly,   I   submit that there is probable cause to believe that,, for

all of the reasons described herein, any user who accessed the TARGET WEBSITE

has, at a minimum, kr.rowingly accessed the TARGET WEBSITE with intent to view

child pomography, or attempted to do so.

                     Identification of SUBJECT PREMISES

      33.    According to publicly available information, IP address 104.191.59.32

which was used to access TARGET WEBSITE on April 12,2019, was registered

to AT&T.

      34.    On or about February 20,2020, an administrative subpoena was issued

to AT&T in regard to the pertinent IP address. Shortly thereafter, a review of the

results obtained identified the following account holder and address, which is the

address   of the   SUBJECT PREMISES: Cynthia               Duff,, 4068   Fairbanks Drive,

Chipley, Florida32428
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      3   5.   An Accurint   database search, that provides names, dates      of   birth,

addresses, associates, telephone numbers, email addresses, and other information,

was conducted for 4068 Fairbanks Drive, Chipley, Florida 32428. The search

identified Cynthia Duff, and Christopher Coy Duffy as possible residents.

      36.      A check of the Washington County Propefiy Appraiser's website shows

that Cynthia Dianne Duffy is the owner of the parcel of land and two bedroom, two

bath, 1,067 square foot residence located at 4068 Fairbanks Drive, Chipley, Florida

32428. Cynthia Dianne Duffr has owned the property since 2005. A homestead

exemption is being claimed for the property.

      37. A search of the Florida Driver License and Vehicle Information
Database (DAVID)       for the SUBJECT PREMISES               address revealed that an

individual named Christopher Coy Duffu with    a date   of   bith of December 16, 1982,

and Cynthia Dianne Duffy with a date of birth March24, 1952, list the SUBJECT

PREMISES address as their residence. Within the documents section of DAVID for

Christopher Coy Dufly was a birth certificate showing Cynthia Dianne Duffu as his

mother. Christopher Coy Duffu has a current vehicle registration for a 2005 green

Jeep Wrangler bearing Florida license plate DI,'FFLLC listing the ST BJECT

PREMISES address.



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       38.    A   search of the Florida Department      of State Division of Corporations

lists DUFF, LLC's principal and mailing addresses as 4068 Fairbanks Drive, Sunny

Hills, Florida 32428 (the SIIBJECT PREMISES)3 and Christopher C, Duffy                 as the

owner. DUFF, LLC filed Articles of Organization with the State of Florida on

September 16, 2013, and had shown the SIIBJECT PREMISES address as its'

principal address and mailing address each year. DUFF, LLC is currently shown as

inactive as having been administratively dissolved for annual report on September

27,2019.

       39.    Surveillance of the SLTBJECT PREMISES on May 4,2020, revealed a

single story blue residence with a Keystone Residence travel trailer located in the

back yard. Surveillance cameras were mounted on the exterior of travel trailer. A

green Jeep Wrangler bearing Florida license plate       "DUFFLLC" was parked in close

proximity to the travel trailer. The travel trailer had various items scattered under

and around it indicating that it had been in place for some time and was occupied.

       40.    During the surveillance, in an effort to gain additional information

regarding any potential wireless networks at the SUBJECT PREMISES, the Wi-Fi

connection settings of   a   law enforcement wireless device was queried from the street


3 Sunny  Ilills is a residential community locatcd in Washington County, Florida. I'he mailing
address lbr  thc Sunny Ilills area is Chipley, Florida.

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directly in front for the SUBJECT PREMISES. It was noted that there were three (3)

wireless networks in the area and all of them were secured. Accordingly, to use any

of them to access the Internet, a user would likely have to know the encryption key

or password for that particular network. Based on the signal strength of the wireless

networks, as well as my training and experience and information relayed to me by

agents,   I   believe that the u,ireless router at the SUBJECT PREMISES is likely

generating a secured wireless network. Furthermore, the names of the wireless

networks observed were 4TT976, IBR900-548 and IBR900-548-5g. Each of the

wireless networks displayed a signal strength bar next to       it with a closed lock
indicating the that wireless network was secured. It should be noted that one of the

wireless networks observed and the IP address 104.191.59.32 used            to   access

TARGET WEBSITE on April 12,2019, was registered to AT&T. As explained

above,   I know, from my training   and experience and information relayed to me by

agents, that wireless routers for both secured and unsecured wireless networks may

yield significant evidence of, or serve as instrumentalities of, a crime.

         41. A check of open source information         from the Intemet regarding

Christopher Coy     DufS revealed he had been    arrested by the Washington County

Sherifls office after being accused of sexually abusing a six-year-old child in


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Washington County. According to the reports, Christopher Coy Duffy had forced

the victim to perform sexual acts on him and touched the chiid's genitals.

       42. A check of the records for the Clerk of the Courts for Washington
County, Florida, shows Christopher Coy Duff! named as a defendant in case number

672019CF00293A in which he was charged with violating g 794.011(2)(a), Florida

Statute, Sexual Battery on a Person less that 12 Years of   Age. Christopher Coy

Duffo was arrested on June 21, 2019. Bond was posted the following            day.

According to documents filed in the matter, the alleged activity occurred between

the dates of December 1, 2018, and January 31,2019. According to the victim, the

sexual assault occurred in a camper when the victim was staying with Christopher

Coy   Dufft.   Christopher Coy Dufff's address in the state case is listed as 4068

Fairbanks Drive, Chipley, Florida 32428 (the SUBJECT PREMISES). The matter

is currently pending with a next scheduled court date of June 15, 2020

       BACKGROUND ON CHILD PORNOGRAPHY COMPUTERS
                    AND THE INTERNET

       43. I     have had both training and experience     in the investigation of
computer-related crimes. Based on my training, experience, and knowledge, I know

the following:




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       a.    Computers and digital technology are the primary way in which

 individuals interested ln child pornography interact with each other.

 Computers basically serve     four functions in connection with        child

 pomography: production, communication, distribution, and storage.

       b.    Digital cameras and smartphones with cameras save photographs

or videos as a digital file that can be directly transferred to a computer by

connecting the camera or smartphone to the computer, using a cable or via

wireless connections such as "WiFi" or "Bluetooth." Photos and videos taken

on a digital camera or smartphone may be stored on a removable memory card

in the camera or smartphone. These memory cards are often large enough to

store thousands of high-resolution photographs or videos

      c      A device known as a modem allows any computer to connect to

another computer through the use of telephone, cable, or wireless connection.

Mobile devices such as smartphones and tablet computers may also connect

to other computers via wireless connections. Electronic contact can be made

to literally millions cif computers around the world. Child pomography can

therefore be easily, inexpensively and anonymously (through electronic

communications) produced, distributed, and received by anyone with access

to a computer or smartphone.
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      d.     The computer's ability to store images in digital form makes the

computer itself an ideal repository for child pomography. Electronic storage

media of various types - to include computer hard drives, extemal hard drives,

CDs, DVDs, and "thumb," 'Jump," or "flash" drives, which are very small

devices that are plugged into a port on the computer - can store thousands    of

images or videos at very high resolution. It is extremely easy for an individual

to take a photo or a video with a digital camera or camera-bearing smartphone,

upload that photo or video to a computer, and then copy it (or any other files

on the computer) to any one of those media storage devices. Some media

storage devices can easily be concealed and carried on an individual's person.

Smartphones and./or mobile phones are also often carried on an individual's

person.

      e      The Intemet affords individuals several different venues for

obtaining, viewing, and trading child pornography in a relatively secure and

anonymous fashion.

      f.     Individuals also use online resources to retrieve and store child

pomography. Some online services allow a user to set up an account with a

remote computing service that may provide email services and/or electronic

storage of computer files in any variety of formats. A user can set up an online

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 storage account (sometimes refemed to as "cloud" storage) from any computer

or smafiphone with access to the Intemet. Even in cases where online storage

 is used, however, evidence of child pomography can be found on the user's

computer, smartphone, or extemal media in most cases.

         g.    A growing phenomenon related to smartphones and other mobile

computing devices is the use ofmobile applications, also referred to     as   "apps."

Apps consist of software downloaded onto mobile devices that enable users

to perform a variety oftasks   -   such as engaging in online chat, sharing digital

files, reading a book, or playing a game        -   on a mobile device. Individuals

commonly use such apps to receive, store,, distribute, and advertise child

pornography,     to interact directly with other like-minded offenders or with

potential minor victims, and to access cloud-storage services where child

pomography may be stored.

        h.     As is the case with most digital technology, communications by

way of computer can be saved or stored on the computer used for these

pu{poses. Storing this information can be intentional (i.e.,by saving an email

as a   file on the computer or saving the location of one's favorite websites in,

for example, "bookmarked" files) or unintentional. Digital information, such

as the traces    of the path of an electronic communication, may also             be

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       automatically stored in many places (e.g., temporary files or ISP client

       software, among others).        In   addition   to   electronic communications,     a


       computer user's lntemet activities generally leave traces or "footprints" in the

       web cache and history files of the browser used. Such information is often

       maintained indefinitely until overwritten by other data.

CHARACTERISTTCS COMMON TO INDIVIDUALS WHO ACCESS WITH
           INTENT TO VIEW CHILD PORNOGRAPHY

       44.    Based on      my previous investigative        experience related   to   child

exploitation investigations, and the training and experience ofother law enforcement

officers with whom I have had discussions, I know there are ceftain characteristics

common     to individuals who      access online   child sexual abuse and exploitation

nraterial via a rvebsite.

              a.     Such individuals may receive sexual gratification,, stimulation,

       and satisfaction from contact with children, or from fantasies they may have

       viewing children engaged in sexual activity or in sexually suggestive poses,

       such as in person, in photographs, or other visual media, or from literature

       describing such activity.

              b.     Such individuals may collect sexually explicit or suggestive

       materials   in a variety of media, including photographs, magazines, motion

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pictures, videotapes, books, slides and/or drawings or other visual media.

Individuals who have a sexual interest in children or images of children

oftentimes use these materials for their own sexual arousal and gratification.

Further, they may use these materials to lower the inhibitions of children they

are   attempting   to   seduce,   to   arouse the selected child partner,      or   to

demonstrate the desired sexual acts.

       c     Such individuals almost always possess and maintain child

pornographic material in the privacy and security of their home or some other

secure location. Individuals who have a sexual interest in children or images

of children typically retain those materials and child erotica for many years.

       d.    Likewise, such individuals often maintain their child

pomography images in a digital or electronic format in a safe, secure and

private environment,, such as a computer and surrounding area. These child

pornography images are often maintained for several years and are kept close

by, usually at the possessor's residence, inside the possessor's vehicle, or, at

times, on their person, or        in   cloud-based online storage,   to   enable the

individual to view the child pornography irnages, which are valued highly.

Some of these individuals also have been found to download, view, and then

delete child pomography on their computers or digital devices on a cyclical

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 and repetitive basis.

              Imporlantly, evidence of such activity, including deleted child

pomography, often can be located on these individuals' computers and digital

 devices through the use offorensic tools. Indeed, the very nature ofelectronic

 storage means that evidence      of the crime is often still discoverable for
extended periods of time even after the individual "deleted" it.

       f.     Such individuals also may correspond with and/or meet others to

share information and materials, rarely destroy correspondence from other

child pomography distributors/possessors, conceal such correspondence             as


they do their sexually explicit material, and often maintain contact

information (e.g. online messaging accounts, email addresses, etc.) of

individuals with whom they have been in contact and who share the same

interests in child pornography.

       g.     Such individuals prefer not to be without their child pornography

for any prolonged time period. This behavior has been documented by law

enforcement officers involved      in the investigation of child       pornography

throughout the world.

       h.     Even ifthe target uses   a    portable device (such as a mobile phone)

to access the Intemet and child pomography, it is more likely than not that
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      evidence of this access    will   be found in his home, the SUBJECT PREMISES,

      as set forth in Attachment        A, including on digital   devices other than the

      portable device (for reasons including the frequency of "backing up" or

      "synching" mobile phones to computers or other digital devices).

      45.     Based on   all of the information contained herein, I believe that     an

intemet user residing at the SUBJECT PREMISES likely displays characteristics

common   to individuals who       access online   child sexual abuse and expioitation

material via a website. In parlicular, the target of investigation obtained and used

Tor network software, foturd the web address for TARGET WEBSITE, and accessed

online child sexual abuse and exploitation material via the TARGET WEBSITE.

   SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

      46. As described above and in Attachment B, this application seeks
permission to search for records that might be found on the STIBJECT PREMISES,

in whatever form they are found. One form in which the records are likely to be

found is data stored on a computer's hard drive or other storage media. Thus, the

warrant applied for would authorize the seizure of electronic storage media or,

potentially, the copying    of   electronically stored information,     all under Rule
a1(e)(2XB).



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      47   .   I submit that if a computer or storage medium is found on the SUBJECT

PREMISES, there is probable cause to believe those records referenced above will

be stored on that computer or storage medium, for at least the following reasons

               a     Deleted files, or remnants of deleted files, may reside in free

      space or slack space-that is,    in    space on the storage medium that is not

      currently being used by an active      file-for   long periods of time before they

      are overwritten. In addition, a computer's operating system may aiso keep a

      record of deleted data in a "swap" or "recovery" file.


               b.    Based on my knowledge, training, and experience,       I know that

      computer files or remnants of such files can be recovered months or even

      years after they have been downloaded onto a storage medium, deleted, or

      viewed via the Internet. Electronic files downloaded to a storage medium can

      be stored for years at little or no cost. Even when files have been deleted, they

                                                                                           '
      can be recovered months or years later using forensic tools. This is so because

      when a person "deletes" a frle on a computer, the data contained in the file

      does not actually disappear; rather, that data remains on the storage medium

      until it is overwritten by new data.

               C     Wholly apart from user-generated files, computer storage

      media-in particular, computers' intemal hard drives-contain electronic
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      evidence ofhow        a   computer has been used, what it has been used for, and who

      has used    it.   To give a few examples, this forensic evidence can take the form

      of   operating system configurations, artifacts from operating system or

      application operation, file system data structures, and virtuai memory "swap"

      or paging files. Computer users typically do not erase or delete this evidence,

      because special software is typically required for that        task. However, it   is

      technically possible to delete this information.

             d.         Similarly, files that have been viewed via the Internet        are

      sometimes automatically downloaded into a temporary Internet directory or

      "cache."

      48.    As furlher described in Attachment B, this application seeks permission

to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes

how computers were used, the purpose of their use, who used them, and when. There

is probable cause to believe that this forensic electronic evidence will be on any

storage medium in the SLIBJECT PREMISES because:

             a.         Data on the storage medium can provide evidence of a file that

      was once on the storage medium but has since been deleted or edited, or         ofa

      deieted portion ofa file (such as a paragraph that has been deleted from a word

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 processing file). Virtual memory paging systems can leave traces of

 information on the storage medium that show what tasks and processes were

 recently active. Web browsers, email programs, and chat programs store

 configuration information on the storage medium that can reveal information

 such as online nicknames and passwords. Operating systems can record

 additional information, such as the attachment of peripherais, the attachment

 of USB flash storage devices or other extemal storage media, and the times

the computer was in use. Computer file systems can record information about

the dates files were created and the sequence in which they were created,

 although this information can later be falsified.

       b.      Information stored within    a   computer and other electronic

 storage media may provide crucial evidence of the "who, what, why, when,

where, and how" of the criminal conduct under investigation, thus enabling

the United States to establish and prove each element or altematively, to

exclude the innocent from further suspicion. In my training and experience,

information stored within      a   computer or storage media (e.g   ,   registry

information, communications, images and movies, transactional information,

records   of   session times and durations, Internet history,, and anti-virus,

spyware, and malware detection programs) can indicate who has used or
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 controlled the computer or storage media. This "user attribution" evidence is

 analogous to the search for "indicia of occupancy" while executing a search

 warrant at a residence. The existence or absence of anti-virus, spyware, and

 malware detection programs may indicate whether the computer was remotely

 accessed, thus inculpating   or exculpating the computer owner. Further,

 computer and storage media activity can indicate how and when the computer

 or storage media was accessed or used. For example, computers typically

 contain infbrmation that logs: computer user account session times and

durations, computer activity associated with user accounts, electronic storage

media that connected with the computer, and the IP addresses through which

the cornputer accessed networks and the Intemet. Such information allows

investigators   to   understand the chronological context    of   computer or

electronic storage media access, use, and events relating to the crime under

investigation. Additionally, some information stored within a computer or

electronic storage media may provide crucial evidence relating to the physical

location of other evidence and the suspect. For example, images stored on a

computer may both show         a   particular location and have geolocation

information incorporated into its file data. Such file data typically also

contains inforrnation indicating when the file or image was created. The
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 existence olsuch image files, along with external device connection logs, rnay

 also indicate the presence ofadditional electronic storage media (e.g., a digital

 camera or cellular phone with an incorporated camera). The geographic and

 timeline information described herein may either incuipate or exculpate the

 computer user. Last, information stored within a computer may provide

 relevant insight into the computer user's state of mind as      it   relates to the

 offense under investigation. For example, information within the computer

 may indicate the owner's motive and intent to commit a crime (e.g., Internet

 searches indicating criminal planning), or consciousness of guilt (e.g, running

 a "wiping" program to destroy evidence on the computer or                password

protecting/encrypting such evidence      in an effort to   conceal     it from law
enforcement).

        c     A person with    appropriate familiarity with how a computer

works can, after examining this forensic evidence in its proper context, draw

conclusions about how computers were used, the purpose of their use, who

used them, and when.

        d.    The process of identiSing the exact files, blocks' registry entries,

1ogs,   or other forms of forensic evidence on a storage medium that            are

necessary to draw an accurate conclusion is a dynamic process. While           it   is

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possible to specify in advance the records to be sought, computer evidence is

not always data that can be merely reviewed by a review team and passed

along to investigators. Whether data stored on a computer is evidence may

depend on other information stored on the computer and the application               of

knowledge about how          a   computer behaves. Therefore, contextual information

necessary       to understand other evidence also falls within the scope of         the

warrant.

          e.      Further, in finding evidence of how a computer was used, the

purpose        of its use, who     used   it, and when, sometimes it is necessary    to

establish that a pafticular thing is not present on a storage medium. For

example, the presence or absence of counter-forensic programs or anti-virus

programs (and associated data) may be relevant to establishing the user's

intent.

          f.      I   know that when an individual uses a computer to obtain or

access child pomography, the          individual's computer will generally serve both

as an instrumentality for committing the crime, and also as a storage medium

fbr evidence of the crime. The computer is an instrumentality of the crime

because        it is used as a means of committing       the criminal offense. The

computer is also likely to be a storage medium for evidence of crime. From

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      my training and experience, I believe that a computer used to commit a crime

      of this type may contain: data that is evidence of how the computer was used;

      data that was sent or received; notes as to how the criminal conduct was

      achieved; records of Internet discussions about the crime; and other records

      that indicate the nature of the offense.

      49.    Based upon rny training and experience and information relayed to me

by agents and others involved in the forensic examination of computers, I know that

computer data can be stored on a variety of systems and storage devices, including

extemal and intemal hard drives, flash drives, thumb drives, micro SD cards, macro

SD cards, DVDs, gaming systems, SIM cards, cellular phones capable of storage,

floppy disks, compact disks, magnetic tapes, memory cards, memory chips, and

online or offsite storage servers maintained by corporations, including but not

lirnited to "cloud" storage. I also know that during the search of the premises it is

not always possible to search computer equipment and storage devices for data for

a number of reasons, including the   following:

             a.    Searching computer systems is a highly technical process that

      requires specific expefiise and specialized equipment. There are so many

      types of computer hardware and software in use today that it is impossible to

      bring to the search website all of the technical manuals and specialized
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 equipment necessary to conduct a thorough search. In addition,                it may   also

 be necessary to consult with computer personnel who have specific expertise

 in the type of computer, software, or operating system that is being searched;

       b.     Searching computer systems requires the use                   of     precise,

scientific procedures which are designed to maintain the integrity of the

evidence and      to   recover "hidden," erased, compressed, encrypted,                  ot'

password-protected      data.   Computer hardware and storage devices may

contain "booby traps" that destroy or alter data           if certain procedures   are not

scrupulously followed. Since computer data is particularly vulnerable to

inadvertent   or   intentional modification           or    destruction,   a   controlled

environment, such as a law enforcement laboratory, is essential to conducting

a complete and accurate analysis of the equipment and storage devices from

which the data will be extracted;

       C      The volume of data stored on many computer systems and

storage devices   will typically   be so large that   it will   be highly impractical to

search for data during the execution of the physical search of the premises;

and

       d.     Computer users can attempt to conceal data within computer

equipment and storage devices through a number of rnethods, including the

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      use of innocuous or misleading filenames and extensions. For example, files

      with the extension "jpg" often are image files; however, a user can easily

      change the extension to   ".txt" to conceal the image and make it appear that

      the file contains text. Computer users can also attempt to conceal data by

      using encryption, which means that a password or device, such as a "dongle"

      or "keycard," is necessary to decrypt the data into readable form. In addition,

      computer users can conceal data within another seemingly unrelated and

      innocuous file in a process called "steganography." For example, by using

      steganography a computer user can conceal text in an image file which cannot

      be viewed when the image     file is opened. Therefore,   a substantial amount   of

      time is necessary to extract and sort through data that is concealed or

      encrypted   to   determine whether      it is contraband,   evidence, fruits, or

      instrumentalities of a crime.

      50.    Additionally, based upon my training and experience and information

relayed   to me by    agents and others involved    in the forensic    examination of

computers,   I know   that routers, modems, and network equipment used to connect

computers    to the lnternet often provide valuable evidence of, and are
instrumentalities of, a crime. This is equally true of wireless routers, which create

localized networks that allow individuals to connect to the Intemet wirelessly.
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'l-hough wireless networks may be secured (in that they require an individual to enter

an alphanumeric key or password before gaining access to the network) or unsecured

(in that an individual may access the wireless network without a key or password),

wireless routers for both secured and unsecured wireless networks may yield

significant evidence o1, or serve as instrumentalities of, a crime-including, for

example, serving as the instrument through which the perpetrator of the Internet-

based crime connected        to the Intemet and, potentially,     containing logging

information regarding the time and date of a perpetrator's network activity as well

as   identiffing information for the specific device(s) the perpetrator used to   access

the network. Moreover, I know that individuals who have set up either a secured or

unsecured wireless network in their residence are often among the primary users       of

that wireless network.

        51.     Based on the foregoing,, and consistent with Rule 41(e)(2)(B), the

warrant   I   am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or ali ofthe evidence described

in the warrant, and would authorize a later review of the media or information

consistent with the warrant. The later review may require techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many



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parls of a hard drive to human inspection in order to determine whether it is evidence

described by the warrant.

                        BIOMETRIC ACCESS TO DEVICES

      52.    This warrant permits law enforcement to compel Christopher Coy

Duffz to unlock any DEVICE,S requiring biometric access subject to                 seizure

pursuant to this warrant. The grounds for this request are as foliows:

             a     I    know from my training and experience, as well as from

      information found      in publicly available      materials published   by   device

      manufacturers, that many electronic devices, particularly newer mobile

      devices and laptops, offer their users the ability to unlock the device through

      biometric features in lieu of   a   numeric or alphanumeric passcode or password.

      These biometric features include fingerprint scanners, facial recognition

      features and iris recognition features. Some devices offer a combination         of

      these biometric features, and the user ofsuch devices can select which features

      thev would like to utilize.

            b.     If   a device is equipped with a fingerprint scanner, a user may

      enable the ability to unlock the device through his or her fingerprints. For

      example, Apple offers a feature called "Touch         ID," which allows   a user to

      register up to five fingerprints that can unlock a device. Once a fingerprint is
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registered,, a user can unlock the device by pressing the relevant finger to the

device's Touch ID sensor, which is found in the round button (often referred

to as the "home" button) located at the bottom center of the front ofthe device.

The fingerprint sensors found on devices produced by other manufacturers

have different names but operate similarly to Touch ID.

      c      Ifa   device is equipped with a facial-recognition feature, a user

may enable the ability to unlock the device through his or her face. For

example, this feature is available on certain Android devices and is called

"Trusted Face." During the Trusted Face registration process, the user holds

the device in front of his or her face. The device's front-facing camera then

analyzes and records data based on the user's facial characteristics. The

device can then be unlocked     if the front-facing camera   detects a face with

characteristics that match those of the registered   face. Facial recognition

features found on devices produced by other manufacturers have different

names but operate similarly to Trusted Face.

      d. If a device is equipped with an iris-recognition        feature, a user

may enable the ability to unlock the device with his or her irises. For example,

on certain Microsoft devices, this feature is called "Windows He11o." During

the Windows Hello registration, a user registers his or her irises by holding
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the device in front of his or her face. The device then directs an infrared light

toward the user's face and activates an infrared-sensitive camera to record

data based on pattems within the user's irises. The device can then be

unlocked   if the infrared-sensitive   camera detects the registered   irises. Iris-

recognition features found on devices produced by other manufacturers have

different names but operate similarly to Windows llello.

             In my training and experience, users of electronic devices often

enable the aforementioned biometric features because they are considered to

be a more convenient way to unlock a device than by entering a numeric or

alphanumeric passcode or password. Moreover, in some instances, biometric

features are considered to be a more secure way to protect a device's contents.

This is particularly true when the users of a device are engaged in criminal

activities and thus have a heightened concern about securing the contents      ofa

device.

      f.     As discussed in this Affidavit, your Affiant has reason to believe

that one or more digital devices   will   be found during the search. The passcode

or password that would unlock the DEVICES subject to search under this

warrant currently is not known to law enforcement. Thus, law enforcement

personnel may not otherwise be able to access the data contained within the

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DEVICES, making the use of biometric features necessary to the execution of

the search authorized by this warrant.

        g.          I   also know from my training and experience, as well as from

information found in publicly available materials including those published

by device manufacturers, that biometric features will not unlock a device in

some circumstances even           ifsuch features are enabled. This can occur when   a

device has been restarted, inactive, or has not been unlocked for a certain

period of time. For example, Apple devices cannot be unlocked using Touch

ID when: ( ) more than 48 hours has elapsed since the device was last
                1




unlocked; or, (2) when the device has not been unlocked using a fingerprint

for 8 hours and the passcode or password has not been entered in the last 6

days. Similarly, certain Android devices cannot be unlocked with Trusted

Face   if   the device has remained inactive for four hours. Biometric features

from other brands can) sirnilar restrictions. Thus, in the event lau,

enforcement personnel encounter a locked device equipped with biometric

features, the opportunity to unlock the device through a biometric feature may

exist for onlv a shorl time.

        h.          Due to the foregoing,   if law enforcement personnel   encounter


any DEVICES that are subject to seizure pursuant to this warrant and may be
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      unlocked using one of the aforementioned biometric features, this warrant

      permits law enforcement personnel to: ( 1) press or swipe the fingers

      (including thumbs) of Christopher Coy Duffu to the fingerprint scanner of the

      DEVICES found at the PREMISES; (2) hold the DEVICES found at the

      PREMISES in front of the face of Christopher Coy Duffu and activate the

      facial recognition feature; and/or (3) hold the DEVICES found at               the

      PREMISES in front of the face of Christopher Coy Duffy and activate the iris

      recognition feature, for the purpose of attempting to unlock the DEVICES in

      order to search the contents as authorized by this warrant. The proposed

      warrant does not authorize law enforcement to compel that Christopher Coy

      Duffz state or otherwise provide the password or any other means that may

      be used to unlock or access the DEVICES. Moreover, the proposed warrant

      does not authorize law enforcement       to compel Christopher Coy Duffy to

      identif, the specific biometric characteristics (inciuding the unique finger(s)

      or other physical features) that may be used to unlock or access the DEVICES.

      53.    Furthermore, law enforcement personnel          will   compel the use of

Christopher Coy   Dufff's biometric   features only   if (a) the procedure is caried out

with dispatch and in the immediate vicinity of the premises to be searched, and if, at

time of the compulsion, law enforcement personnel has (b) reasonable suspicion that
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Christopher Coy Duffz has committed a criminal act that is the subject matter of the

requested search warant, and (c) reasonable suspicion that Christopher Coy   Duffr's

biometric features will unlock the respective device.

                                     CONCLUSION

        54.   Based on the foregoing, there is probable cause to believe that the

federal criminal statutes cited herein have been violated, and that the contraband,

property, evidence, fruits and instrumentalities    of these offenses, more fully
described in Attachment B, are located at the locations described in Attachment A.

I   respectfully request that this Court issue a search warrant for the locations

described in Attachment A, authorizing the seizure and search of the items described

in Attachment B.




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      55. I am aware that the recovery of data by a computer forensic analyst
takes significant time; much the way recovery of narcotics must later be forensically

evaluated   in a lab, digital evidence will also undergo a similar process. For this

reason, the "return" inventory   will   contain a list of only the tangible items recovered

from the premises. Unless otherwise ordered by the Court, the retum will not include

evidence later examined by a forensic analyst.




                                                         Lawrence P. Borghini
                                                         Special Agent
                                                         Federal Bureau of Investigation



      Su,om and subscribed before me this 6th day of May, 2020.




                                                             /s/ Michael J. Frank
                                                             Michael J. Frank
                                                             United States Magistrate Judge




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                                     ATTACHM[,NT A

                DESCRIPTION OF LOCATIONS TO BE SEARCHED

      The entire propefty located at 4068 Fairbanks Drive, Chipley,Florida32428,

including the residential building, travel trailer, outbuildings, and any appurtenances

thereto (the SIIBJECT PREMISES), and any person located at the SUBJECT

PREN4ISES.



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                                ATTACHMENT I]

                               ITEMS TO BE SEIZED

      The following materials, which constitute evidence of the commission of a

criminal offense, contraband, the fruits of crime, or property designed or intended

for use or which is or has been used as the means of committing a criminal offense,

namely violations of 18 U.S.C. $ 2252A(a)(2) and (a)(5):

   1. Computers or storage media used as a means to commit the violations

      described above.

   2. For any computer or storage medium whose seizure is otherwise authorized

      by this warrant, and any computer or storage medium that contains or in which

      are stored records or information that is otherwise called for by this warrant

      (hereinafter, "COMPUTER"):

         a   evidence of who used, owned, or controlled the COMPUTER at the

             time the things described in this warrant were created, edited, or

             deleted, such as logs, registry entries, configuration files, saved user

             names and passwords, documents, browsing history, user profiles,

             email, email contacts, "chat," instant messaging logs, photographs, and

             correspondence;



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   b. evidence     of   software that would allow others       to   control   the

        COMPUTER, such as viruses, Troj an horses, and other forms of

        malicious software, as well as evidence of the presence or absence of

        security software designed to detect malicious software;

   c    evidence ofthe lack of such malicious software;

   d.   evidence indicating how and when the computer was accessed or used

        to determine the chronological context of computer access, use,       and

        evcnts relating to the crime(s) under investigation and to the computer

        user;

   e    evidence indicating the computer user's knowledge and/or intent as it

        relates to the crime(s) under investigation;

   f.   evidence of the attachment to the COMPUTER of other storage devices

        or similar containers for electronic evidence;

   g. evidence of programs (and associated data) that are designed to

        eliminate data from the COMPUTER;

   h.   evidence of the times the COMPUTER was used;

   I    passwords, encryption keys, and other access devices that may be

        necessary to access the COMPUTER;



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        j.   documentation and manuals that may be necessary            to   access the

             COMPUTER         or to    conduct   a   forensic examination       of   the

             COMPL]TER;

        k.   records   ofor information about Intemet Protocol   addresses used by the

             COMPUTER;

        l.   records of or information about the COMPUTER's Internet activity,

             including firewall iogs, caches, browser history and              cookies,

             "bookmarked" or "favorite" web pages, search terms that the user

             entered into any Intemet search engine, and records of user-typed web

             addresses; and

        m. contextual information necessary to understand the evidence described

             in this attachment.

3. Routers, modems,        and network equipment used to connect computers to the

     Internet.

4. Child pomography, as defined in        18 U.S.C. S 2256(8), visuai depictions     of

     minors engaging in sexually explicit conduct, as defined         in   18 U.S.C.   $


     2256(2), and child erotica.

5.   Records, information, and items relating to violations of the statutes described

     above including:
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          a.   Records, information, and items relating to the occupancy or ownership

               of the SUBJECT PREMISES., 4068 Fairbanks Drive, Chipley, Florida

               32428, including utility and telephone bills, mail envelopes, or

               addressed correspondence;

         b. Records, information, and items relating to the ownership or use of

               computer equipment found         in the above residence, including   sales

               receipts, bills for Intemet access, and handwritten notes;

         c. Records and information relating to the identity or location of the
               persons suspected of violating the statutes described above;

         d. Records and information relating to scxual exploitation of children,

               including correspondence and communications between users of child

               pomography and exploitation websites.

      As used above, the terms "records" and "infbrmation" includes all forms of

creation or storage, including any form of computer or electronic storage (such       as


hard disks or other media that can store data); any handmade form (such as writing);

any mechanical form (such as printing or typing); and any photographic form (such

as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or

photocopies).



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      The term "computer" includes all types of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical,

arithmetic, or storage functions, including desktop computers, notebook computers,

mobile phones, tablets, server computers, and network hardware.

      The term "storage medium" includes any physical object upon which

computer data can be recorded, including extemal and intemal hard drives, flash

drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM

cards, cellular phones capable   of storage, floppy disks, compact discs, magnetic

tapes, memory cards, memory chips, and other magnetic or optical media.

      During the execution of the search of the PREMISES described in Attachment

A, law enforcement personnel are also specifically authorized to compel Christopher

Coy Duff! to provide biometric features, including pressing fingers (including

thumbs) against and/or putting a face before the sensor, or any other security feature

requiring biometric recognition, of:

      (a)    any of the DEVICES found at the PREMISES, and

      (b)    where the DEVICES are limited to those which are capable of

             containing and reasonably could contain fiuits, evidence, information,

             contraband, or instrumentalities of the offense(s) as described in the

             search warrant affidavit and warrant attachments,

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for the purpose of attempting to unlock the DEVICES's security features in order to

search the contents as authorized bv this warrant.

      This warrant does not authorize law enforcement personnel to compel any

other individuals found at the PREMISES to provide biometric features, as described

in the preceding paragraph, to access or otherwise unlock any DEVICE. Further,

this warrant does not authorize law enforcement personnel to request                    that

Christopher Coy Duffu state or otherwise provide the password or any other means

that may be used to unlock or access the DEVICES, including by identifying the

specific biometric characteristics (including the unique finger(s) or other physical

features) that may be used to unlock or access the        DEVICES. Fufthermore, law

enforcement personnel       will compel the use of Christopher Coy Duffr's biometric

features only   if   (a) the procedure is carried out with dispatch and in the immediate

vicinity of the premises to be searched, and if, at time of the compulsion, law

enforcement personnel has (b) reasonable suspicion that Christopher Cpy Duffu has

committed a criminal act that is the subject matter of the requested search warrant,

and (c) reasonable suspicion that Christopher Coy        Duffr's biometric   features   will

unlock the respective device.

      This warrant authorizes          a   review   of   electronic storage media and

electronically stored information seized or copied pursuant to this warrant in order
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lo locate evidence, lruits, and instrumentalities described in this warrant. The review

of this electronic data may be conducted by any government personnel assisting in

the investigation, who may include, in addition to law enforcement officers and

agents, attomeys for the government, attomey support staff, and technical experts.

Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied

electronic data to the custody and control of attomeys for the government and their

suppoft staff for their independent review.




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